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                               UNITED STATES DISTRICT COURT

                                 DISTRICT OF MASSACHUSETTS


DAMON IMMEDIATO, STEPHEN                                     CASE NO. 1:20-cv-12308
LEVINE, and ERIC WICKBERG, on behalf
of themselves and all others similarly situated,             NOTICE OF REMOVAL OF CLASS
                                                             ACTION BY DEFENDANT
                               Plaintiffs,                   POSTMATES, LLC F/K/A
                                                             POSTMATES INC.
             v.
                                                             Removal from the Suffolk County Superior
POSTMATES, INC.,                                             Court, Case No. 2084-CV-02003H
                               Defendant.
                                                             Action Filed: September 3, 2020


        TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE DISTRICT

OF MASSACHUSETTS AND TO PLAINTIFFS AND THEIR COUNSEL OF RECORD:

        PLEASE TAKE NOTICE THAT, pursuant to the Class Action Fairness Act of 2005

(“CAFA”), 28 U.S.C. §§ 1332(d), 1441, 1446, 1453, and 1711, Defendant Postmates Inc. 1 hereby

removes this action from the Suffolk County Superior Court, Commonwealth of Massachussetts,

Case No. 2084-CV-02003H, to the United States District Court for the District of Massachusetts:

                                 I.       TIMELINESS OF REMOVAL

        1.        Plaintiffs Damon Immediato, Stephen Levine, and Eric Wickberg (collectively,

“Plaintiffs”) filed a putative Class Action Complaint against Postmates in the Superior Court of

the Commonwealth of Massachusetts, Suffolk County, Case No. 2084-CV-02003H, on September

3, 2020. Pursuant to 28 U.S.C. § 1446(a), true and correct copies of the (a) Class Action

Complaint, (b) Civil Action Cover Sheet, (c) Waiver and Acceptance of Service, (d) Joint Motion




1
  As noted in the concurrently filed Corporate Disclosure Statement, Postmates Inc. is now Postmates, LLC f/k/a
Postmates Inc., and its parent company is Uber Technologies, Inc.

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to Extend Time to Respond to Complaint, and (e) Superior Court Docket Sheet are attached as

Exhibits A–E to the Declaration of Dhananjay S. Manthripragada (“Manthripragada Decl.”) filed

concurrently herewith. These filings constitute the complete record of all proceedings in the state

court.

         2.       According to the Waiver and Acceptance of Service filed in the Suffolk County

Superior Court, Postmates accepted and waived service on December 2, 2020.                        See

Manthripragada Decl. ¶ 4, Ex. C. This Notice of Removal is timely because it is filed within 30

days after service was completed. See 28 U.S.C. § 1446(b).

         II.      SUMMARY OF ALLEGATIONS AND GROUNDS FOR REMOVAL

         3.       Removal is proper under 28 U.S.C. §§ 1441 and 1453 because this Court has subject

matter jurisdiction over this putative class action and all claims asserted against Postmates under

CAFA, 28 U.S.C. § 1332(d).

         4.       CAFA applies to “any class action before or after the entry of a class certification

order by the court with respect to that action.” 28 U.S.C. § 1332(d)(8). This case is a putative

“class action” under CAFA because it was brought under a statute or rule, namely Massachusetts

Rule of Civil Procedure 23, authorizing an action to be brought by one or more representative

persons as a class action. See 28 U.S.C. § 1332(d)(1)(B); see also Manthripragada Decl. Ex. A,

Compl. ¶ 24.

         5.       Plaintiffs ask the Court to “certify this case as a class action on behalf of all

Postmates drivers who worked in Massachusetts.” Manthripragada Decl. Ex. A, Compl. ¶ 24.

         6.       In their Complaint, Plaintiffs allege three causes of action against Postmates:

(1) failure to reimburse couriers for business expenses in violation of Mass. Gen. Laws. ch. 149

§ 148, (2) failure to pay minimum wage in violation of Mass. Gen. Law. ch. 151 §§ 1, 7, and



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(3) failure to pay earned sick time in violation of Mass. Gen. Law ch. 149 § 148C. Manthripragada

Decl. Ex. A, Compl. at pp. 7–8.

       7.       Among other things, Plaintiffs allege that putative class members are entitled to

restitution for damages allegedly incurred as a result of Postmates’ alleged misclassification of

couriers as independent contractors, statutory trebling of wage-related damages, an injunction

enjoining Postmates from classifying couriers as independent contractors, and attorneys’ fees and

costs. Manthripragada Decl. Ex. A, Compl., Prayer for Relief.

       8.       Removal of a class action under CAFA is proper if: (1) there are at least 100

members in the putative class; (2) there is minimal diversity between the parties, such that at least

one class member is a citizen of a state different from any defendant; and (3) the aggregate amount

in controversy exceeds $5 million, exclusive of interest and costs. See 28 U.S.C. §§ 1332(d), 1441.

       9.       Postmates denies any liability in this case. Postmates intends to oppose class

certification and believes that class treatment is inappropriate under these circumstances in part

because there are many material individualized differences between the named Plaintiffs and the

putative class members Plaintiffs seek to represent, and among the putative class members.

Postmates expressly reverses all rights, including to oppose class certification and to contest the

merits and propriety of all claims asserted in the Complaint. For purposes of the jurisdictional

requirements for removal only, however, the allegations in Plaintiffs’ Complaint identify a putative

class of more than 100 members and put in controversy, in the aggregate, an amount that exceeds

$5 million. See 28 U.S.C. § 1332(d)(6).

A.     The Putative Class Consists of More Than 100 Members

       10.      Based on Plaintiffs’ allegations, this action satisfies CAFA’s requirement that the

putative class contains at least 100 members. See 28 U.S.C. § 1332(d)(5)(B).



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         11.      Plaintiffs’ proposed class consists of “all Postmates drivers who worked in

Massachusetts.” Manthripragada Decl. Ex. A, Compl. ¶ 24. Plaintiffs themselves estimate that

“tens of thousands” of individuals contracted with Postmates to perform deliveries in

Massachusetts using the Postmates platform.                    Id. ¶ 25.    According to Postmates’ records,

approximately 25,000 couriers have used the Postmates platform to accept and make deliveries in

Massachusetts since September 3, 2017. 2 Modlin Decl. ¶ 3.

         12.      Accordingly, while Postmates denies that class treatment is permissible or

appropriate, the proposed class consists of more than 100 members.

B.       Postmates and Plaintiffs Are Not Citizens of the Same State

         13.      Under CAFA’s minimum diversity of citizenship requirement, the plaintiff or any

member of a putative class must be a citizen of a different state than any defendant. See 28 U.S.C.

§ 1332(d)(2)(A).

         14.      A person is a citizen of the state in which he is domiciled. Lundquist v. Precision

Valley Aviation, Inc., 946 F.2d 8, 10 (1st Cir. 1991). A party’s residence is “highly relevant” to

determine his or her domicile. Id. at 11; see also Aponte–Dávila v. Municipality of Caguas, 828

F.3d 40, 47 (1st Cir. 2016) (“the place of residence is prima facie evidence of a party’s domicile”).

According to Plaintiffs’ Complaint, Plaintiff Immediato is a resident of Florida, and Plaintiffs

Levine and Wickberg are residents of Massachusetts. Manthripragada Decl. Ex. A, Compl. ¶¶ 6–

8. Plaintiffs are therefore considered citizens of Florida and Massachusetts for purposes of

removal.




2
  Plaintiffs’ Complaint does not allege a class period. However, the statute of limitations on each of Plaintiffs’
causes of action is three years. Mass Gen. Laws ch. 149 § 150; Mass. Gen. Laws ch. 151 § 20A.

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        15.      Postmates is a limited liability company. Modlin Decl. ¶ 2. For purposes of

diversity jurisdiction, “the citizenship of a limited liability company is determined by the

citizenship of all its members.” D.B. Zwirn Special Opportunities Fund, L.P. v. Mehrotra, 661

F.3d 124, 125 (1st Cir. 2011). Uber Technologies, Inc. is the sole member of Postmates, LLC.

Modlin Decl. ¶ 2. Uber Technologies, Inc. is a Delaware corporation with its principal place of

business in California. Id. Accordingly, Uber Technologies, Inc. and Postmates, LLC are citizens

of Delaware and California. See 28 U.S.C. § 1332(c)(1) (“a corporation shall be deemed to be a

citizen of every State and foreign state by which it has been incorporated and of the State or foreign

state where it has its principal place of business”). 3

        16.      Plaintiffs and Postmates are citizens of different states, and CAFA’s minimal

diversity requirement is met. See 28 U.S.C. § 1332(d)(2)(A).

C.      The Amount in Controversy Exceeds $5 Million

        17.      CAFA requires that the amount in controversy in the putative class action exceeds

$5 million, exclusive of interests and costs. 28 U.S.C. § 1332(d)(2). In calculating the amount in

controversy, a court must aggregate the claims of all individual class members. Id. § 1332(d)(6).

        18.      “[A] defendant’s notice of removal need include only a plausible allegation that the

amount in controversy exceeds the jurisdictional threshold.” Dart Cherokee Basin Op. Co. v.

Owens, 574 U.S. 81, 89 (2014). To satisfy this burden, a defendant need only “show a reasonable

probability that more than $5 million is at stake in th[e] case.” Romulus v. CVS Pharmacy, Inc.,

770 F.3d 67, 80 (1st Cir. 2014). “[T]he pertinent question is what is in controversy in the case,

not how much the plaintiffs are ultimately likely to recover.” Id.; see also Amoche v. Guarantee




3
  The entity named by Plaintiffs as Defendant, Postmates Inc., no longer exists. However, that entity was also
incorporated in Delaware with its headquarters in San Francisco, California. Modlin Decl. ¶ 2.

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Trust Life Ins. Co., 556 F.3d 41, 51 (1st Cir. 2009) (“the plaintiffs’ likelihood of success on the

merits is largely irrelevant to the court’s jurisdiction”). “[W]hen a defendant seeks federal-court

adjudication, the defendant’s amount-in-controversy allegation should be accepted when not

contested by the plaintiff or questioned by the court.” Dart Cherokee, 574 U.S. at 87. Importantly,

Plaintiffs seeking to represent a putative class cannot “bind the absent class” through statements

aimed to limit their recovery in an effort to “avoid removal to federal court.” Std. Fire Ins. Co. v.

Knowles, 568 U.S. 588, 595–96 (2013).

       19.     Although Postmates denies that Plaintiffs’ claims have any merit, for the purposes

of meeting the jurisdictional requirements for removal only, if Plaintiffs were to prevail on every

claim and allegation in their Complaint on behalf of the putative class, the requested monetary

recovery would exceed $5 million.

       20.     Postmates reserves the right to present evidence establishing the amount placed in

controversy by each of Plaintiffs’ claims should Plaintiffs challenge whether the jurisdictional

amount-in-controversy threshold is satisfied. See Dart Cherokee, 574 U.S. at 89 (“Evidence

establishing the amount is required by § 1446(c)(2)(B) only when the plaintiff contests, or the

court questions, the defendant’s allegation [that the amount in controversy exceeds the

jurisdictional threshold].”). But for present purposes, it is sufficient that Plaintiffs’ claim for

reimbursement of alleged business expenses alone places more than $5 million in controversy.

       21.     Plaintiffs allege in their first cause of action that Postmates “fail[ed] to reimburse

[the putative class members] for their business expenses necessary to perform their work, such as

gas and car maintenance, smartphones and phone data plans in violation of [Mass Gen. Laws ch.

149 § 148].” Manthripragada Decl. Ex. A, Compl. at p. 7. On this ground, Plaintiffs seek, among




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other things, restitution of damages, statutory trebling of damages, and attorneys’ fees and costs.

Id. at p. 8.

         22.    Based on Plaintiffs’ allegation that “Postmates does not reimburse drivers for these

expenses,” id. at ¶ 19, it is reasonable to assume for the purposes of this jurisdictional analysis

only that no class members received reimbursement for alleged business expenses.

         23.    During the three-year period prior to the filing of the Complaint, at least 25,000

couriers used the Postmates platform to connect with customers and accept delivery opportunities

in Massachusetts. Modlin Decl. ¶ 3. These couriers drove, in the aggregate, over 6.5 million miles

completing deliveries through the Postmates platform in Massachusetts. Id. ¶ 4.

         24.    Plaintiffs seek “reimbursement for car expenses at the standard IRS mileage

reimbursement rate.” Manthripragada Decl. Ex. A, Compl. ¶ 20. The Internal Revenue Service

standard mileage reimbursement rates ranged from 53.5 cents per mile to 57.5 cents per mile

during    the   putative   class   period.     IRS    Standard   Mileage    Rates    (available   at

https://www.irs.gov/tax-professionals/standard-mileage-rates). Even assuming that putative class

members incurred expenses based on the lowest applicable mileage rate—53.5 cents per mile—

during the entire class period, the mileage reimbursement allegedly owed would be $3,477,500.

         25.    Plaintiffs also seek trebling of damages pursuant to Massachusetts General Law

chapter 149, section 150. Manthripragada Decl. Ex. A, Compl., Prayer for Relief. Section 150

states that employees aggrieved by a violation of the Massachusetts Wage Act “shall be awarded

treble damages, as liquidated damages, for any lost wages and other benefits.” Mass. Gen. Laws

ch. 149 § 150. Therefore, based on Plaintiffs’ allegations, the total amount in controversy for

Plaintiffs’ claim for mileage reimbursement alone—not including the other categories of alleged

business expenses Plaintiffs seek—is $10,432,500, which is well over the requisite $5 million. See



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Lucas v Ultima Framingham LLC, 973 F. Supp. 2d 98, 103 (D. Mass 2013) (“When a plaintiff

makes a claim under a statute including a damage multiplier, a court must apply that factor in

evaluating the amount in controversy.”).

       26.     Plaintiffs’ allegations regarding Postmates’ failure to reimburse for alleged

business expenses place at least $10.4 million in controversy.

       27.     Plaintiffs also explicitly seek attorneys’ fees should they recover under any of the

claims in this action. See Manthripragada Decl., Ex. A, Compl., Prayer for Relief. Prospective

attorneys’ fees are properly included in the amount in controversy. See Lucas, 973 F. Supp. 2d at

101 (“a court must take into account attorneys’ fees where, as here, the award of those fees is

statutorily authorized”) (citing Spielman v. Genzyme Corp., 251 F.3d 1, 6 (1st Cir. 2001)); see also

Mass. Gen. Laws ch. 149 § 150 (providing for mandatory attorneys’ fees award for violation of

section 148). Postmates denies that any such attorneys’ fees are owed to Plaintiffs or putative class

members, however, for purposes of this jurisdictional analysis only, Postmates relies on Plaintiffs’

allegations that the attorneys’ fees are owed. In Romulus, the First Circuit found that the defendant

established the amount in controversy based in part on the inclusion of a fee award of 10% of the

potential recovery. 770 F.3d at 81. Using the same logic here, a 10% potential fee award in this

case would approximate $1,043,250, bringing the amount in controversy to well over $11 million.

       28.     This figure is under-inclusive of the actual amount in controversy because it is

based on conservative assumptions and does not account for, among other things, any recovery

sought for alleged business expenses other than mileage, failure to pay minimum wage (Second

Cause of Action), or failure to pay earned sick leave (Third Cause of Action).




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        29.    Plaintiffs’ allegations place more than the requisite $5 million in controversy. The

jurisdictional amount in controversy requirement is met, and removal to this Court is proper under

CAFA.

        III.    THIS COURT HAS JURISDICTION AND REMOVAL IS PROPER

        30.    Based on the foregoing facts and allegations, this Court has original jurisdiction

over this action pursuant to 28 U.S.C. § 1332(d) because (1) this action is a class action within the

meaning of § 1332(d)(1)(B); (2) this action involves a putative class of at least 100 persons as

required by § 1332(d)(5)(B); (3) at least one member of the putative class is a citizen of a state

different than Postmates as required by § 1332(d)(2)(A); and (4) the amount in controversy

exceeds $5 million, exclusive of interest and costs, as required by § 1332(d)(2). Accordingly, this

action is properly removable under 28 U.S.C. §§ 1441, 1446, and 1453.

        31.    Plaintiffs originally filed this action in the Superior Court of the Commonwealth of

Massachusetts, making removal to the United States District Court for the District of

Massachusetts proper under 28 U.S.C. § 1441(a).

        32.    Upon filing this Notice of Removal, Postmates will furnish Plaintiffs’ counsel with

a copy of this Notice and will file a copy of this Notice with the Clerk of the Superior Court of the

Commonwealth of Massachusetts, pursuant to 28 U.S.C. § 1446(d).




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Date: December 31, 2020                   Respectfully submitted,

                                          POSTMATES, LLC F/K/A POSTMATES
                                          INC.

                                          By its attorneys,

                                          GIBSON, DUNN & CRUTCHER LLP


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                CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(2)

       Pursuant to Local Rule 7.1(a)(2), the undersigned certifies that counsel for Defendant has
conferred in good faith with counsel for Plaintiffs prior to filing this Notice of Removal. The
parties were unsuccessful in resolving or narrowing the dispute.

                                                    /s/ Joshua S. Lipshutz
                                                            Joshua S. Lipshutz




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